                IN THE DISTRICT COURT OF THE UNITED STATES
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            ASHEVILLE DIVISION
                                 1:09-cr-26-7


UNITED STATES OF AMERICA                      )
                                              )
Vs.                                           )            ORDER
                                              )
MARK TAYLOR LEWIS.                            )
______________________________________        )


        THIS CAUSE coming on to be heard and being heard, pursuant to a letter

(#185) forwarded by the defendant to the Clerk of the United States District Court

dated June 2, 2009. This letter was received and filed on June 18, 2009. The letter

was considered by the undersigned as a request by the defendant that new counsel be

substituted for the defendant. This matter came on for hearing before the undersigned

on June 23, 2009 and after hearing from the defendant and his counsel in a sealed

proceeding, the undersigned held the matter open for further hearing that took place

on July 1, 2009. On July 1, 2009, the undersigned made inquiry of the defendant and

the defendant stated that he wished to withdraw his request that new counsel be

appointed and substituted for his attorney and further stated that he was happy with

the representation of his counsel and he did not wish to be heard further in regard to

this issue.

        Based upon the representations of the defendant and his statements made in




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open court, it appears that the defendant seeks to withdraw his request for

appointment of new counsel and that such withdrawal will be allowed.



                                     ORDER

      IT IS, THEREFORE, ORDERED that the letter (#185) dated June 2, 2009 and

filed on June 18, 2009, which the undersigned has considered as a motion requesting

substitution of counsel, is hereby ALLOWED TO BE WITHDRAWN and the

defendant’s present counsel, C. Dennis Gibson, shall continue to represent the

defendant in this matter.



                                        Signed: July 20, 2009




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